CaSe 2:02-cv-02949-.]PI\/| Document 51 Filed 05/19/05 Page 1 of 2 Page|D 69

IN THE UNITED sTATEs DISTRICT coURT 3333 3' iii G--C
FoR THE wEsTERN DISTRICT oF TENNESSEE g
wEsTERN DIvIsIoN 3 "" ES’P HFZ= 53

 

CLEOPHUS TRIBBLE ,

 

Plaintiff,
v.
No. 02-2949 Ml/V
MEMPHIS CITY SCHOOLS,

Defendants.

Vv`rwv`rvv\-I\.¢

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUIJGED,r AND DECREED that, in
accordance with the Order Granting Defendant’s Amended Motion for
Summary Judgment, entered May JE, 2005, judgment is hereby
entered in favor of Defendant Memphis City Scbools and against
Plaintiff Cleopbus Tribble.

OVE

     

 

JON P. MCCALLA
UN ED STATES DISTRICT COURT

mrt /Q QOD§

Date Lj Clerk of Court

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(By) eputy Clerk

HOBERT R. D| TROLIO

 

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With Rul.e 58 and/cr 79{3) FRCP on ______:___"_G

 

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This notice confirms a copy of the document docketed as number 51 in
case 2:02-CV-02949 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

